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“aaAO 133 (Rev. 9/89) Bill of Costs

UNITED STATES DISTRICT COURT

District of

 

 

DeIISa ROSS BILL 0F COSTS

V_
RJl\/| Acquisitions Funding LLC

CaseNumber: j[,r' rf/D {é) _S*._"

 

 

Judgment having been entered in the above entitled action on March 16’2006 against De|isa ROSS ,
the Clerk is requested to tax the following as co sts: Date
Fees of the Clerk .................................................................. $
Fees for service of summons and subpoena ..............................................
1,155.85

Fees ofthe court reporter for all or any part ofthe transcript necessarily obtained for use in the case

Fees and disbursements for printing ....................................................
Fees for witnesses (itemize on reverse side) ..............................................
Fees for exemplification and copies of papers necessarily obtained for use in the case .............
Docket fees under 28 U.S.C. 1923 .....................................................
Costs as shown on Mandate ofCourt of Appeals ..........................................
Compensation of court-appointed experts ...............................................
Compensalion of interpreters and costs of special interpretation services under 28 U.S.C. 1828 .....
Other costs (plcase itemizc) ..........................................................
1,155.85

TOTAL $

SPECIAL NOTE: Attach to your bill an itemization and documentation for requested costs in all categoriesl

 

DECLARATION

 

Ideclare underpenalty ofperjury that the foregoing costs are correct and were necessarily incurred in this action and that the services
for which fees have been charged were actually and necessarily performed. A copy ofthis bill was mailed today with postage
prepaid to; P|aintif'f's Attorney David Philipp§ ,-- " ' ' __ g

j n _/" "x_ `:
Signature ofAttorney: ` , `f_,_,,;'_`_,,;=,__; 3;-.-",'_=_¢,, ‘, ,._h“ _

NameofAttorney: AmYkR Jonkel'/ A__ _,J

RJ|V| Acquisitions Funding LLC
Namc ofClaiming Party

 

 

Apri| 17, 2006

For: Date:

 

Costs are taxed inthe amountof and included in lhejudgment.

 

By:

 

 

Clerk of Court Deputy Clerk Date

